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 4                      UNITED STATES DISTRICT COURT

 5                               DISTRICT OF NEVADA

 6   UNITED STATES OF AMERICA,                   )
                                                 )      2:07-cr-00080-RCJ-PAL
 7                       Plaintiff,              )
                                                 )
 8         vs.                                   )             ORDER
                                                 )
 9   MICHAEL JENKINS,                            )
                                                 )
10                       Defendant.              )
                                                 )
11

12         Before this Court for consideration is the Report of Findings and Recommendation

13   from Magistrate Judge Peggy A. Leen, entered May 4, 2009 (Dkt #118). No objections

14   have been filed.

15         The Court has conducted a review of the record in this case and determines that

16   the Report of Findings and Recommendation of the United States Magistrate Judge

17   entered May 4, 2009, should be affirmed.

18         IT IS THEREFORE ORDERED that Magistrate Judge Leen’s Report of Findings

19   and Recommendation (#118) be affirmed and adopted and that Jenkins’ Motion to

20   Dismiss/Motion to Suppress (Dkt. #95) be DENIED.

21         DATED: July 2, 2009

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                                                UNITED STATED DISTRICT COURT
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